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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                   Plaintiff,

       v.                                   CRIMINAL NO. 1:06CR 67
                                                 (Judge Keeley)


 CHARLES RAYMOND WABLE,

                   Defendant.


            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
              RECOMMENDATION THAT DEFENDANT'S GUILTY PLEA
             BE ACCEPTED AND SCHEDULING SENTENCING HEARING
                         FOR SEPTEMBER 4, 2007

       On May 1, 2007, defendant, Charles Raymond Wable, appeared

 before United States Magistrate Judge John S. Kaull and moved this

 Court for permission to enter a plea of GUILTY to Count Eleven of

 the Indictment. The defendant stated that he understood that the

 magistrate    judge   is    not   a   United   States   District   Judge,     and

 consented to pleading before the magistrate judge.             This Court had

 referred the guilty plea to the magistrate judge for the purposes

 of   administering    the    allocution    pursuant     to   Federal   Rule    of

 Criminal Procedure 11, making a finding as to whether the plea was

 knowingly and voluntarily entered, and recommending to this Court

 whether the plea should be accepted.

       Based upon the defendant's statements during the plea hearing

 and the testimony of Deputy Tim Ankrom, the magistrate judge found

 that the defendant was competent to enter a plea, that the plea was

 freely and voluntarily given, that the defendant was aware of the

 nature of the charges against him and the consequences of his plea,
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                            SEPTEMBER 4, 2007

 and that a factual basis existed for the tendered plea.           On May 8,

 2007, the magistrate judge entered an order finding a factual basis

 for the plea and recommended that this Court accept the plea of

 guilty to Count Eleven of the Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the report and recommendation within ten (10)

 days after service of the report and recommendation. The magistrate

 judge further directed that failure to file objections would result

 in a waiver of the right to appeal from a judgment of this Court

 based on the report and recommendation.

       The parties did not file any objections.           Accordingly, this

 Court finds that the magistrate judge's recommendation should be

 AFFIRMED and ACCEPTS the plea of guilty to Count Eleven of the

 Indictment.

       The Court ADJUGES the defendant GUILTY of the crime charged in

 Count Eleven.     Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G.

 §   6B1.1(c),    acceptance    of   the   proposed   plea   agreement    and

 stipulated addendum to the plea agreement, is DEFERRED until the

 Court has received and reviewed the presentence report prepared in

 this matter.

       Pursuant to U.S.S.G. § 6A1 et seq., it is hereby ORDERED that:




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             ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
              RECOMMENDATION THAT DEFENDANT'S GUILTY PLEA BE
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                             SEPTEMBER 4, 2007

       1.     The       Probation     Officer        undertake      a     presentence

 investigation of CHARLES RAYMOND WABLE and prepare a presentence

 report for the Court;
       2.     The Government and the defendant are to provide their

 versions of the offense to the Probation Officer by June 20, 2007;

       3.     The   presentence       report    is    to   be    disclosed      to   the

 defendant, defense counsel, and the United States on or before

 July 23, 2007; however, the Probation Officer is directed not to

 disclose     the       sentencing     recommendations          made     pursuant     to

 Fed. R. Crim. P. 32(b)(6)(A);

       4.     Counsel shall file WRITTEN OBJECTIONS to the presentence

 report     and   may    file   a    SENTENCING      MEMORANDUM        that   evaluates

 sentencing factors the parties believe to be relevant under 18

 U.S.C. § 3553(a) (including the sentencing range under the advisory

 Guidelines) and explains any proposed sentence, on or before
 August 6, 2007;

       5.     The Probation Officer shall submit to the Court the

 presentence report with addendum on or before August 20, 2007; and

       6.     Sentencing is set for September 4, 2007 at 1:30 p.m.

       7.     The Court remanded the defendant to the custody of the

 United States Marshals.

       It is so ORDERED.


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             ACCEPTED AND SCHEDULING SENTENCING HEARING FOR
                            SEPTEMBER 4, 2007

       The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: June 6, 2007



                                     /s/ Irene M. Keeley
                                     IRENE M. KEELEY
                                     UNITED STATES DISTRICT JUDGE




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